Case 1:06-cv-00098-DLH-CSM Document 1-3 Filed 12/14/06 Page 1 of 2

Exhibit B
Case 1:06-cv-00098-DLH-CSM Document 1-3 Filed 12/14/06 Page 2 of 2

Int. CL: 39
Prior U.S. Cls.: 100 and 105
Reg. No. 2,744,100

United States Patent and Trademark Office _ Registered July 29, 2003

SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES WORLDGATEWAY

NORTHWEST AIRLINES, INC. (MINNESOTA NO CLAIM IS MADE TO THE EXCLUSIVE

CORPORATION) RIGHT TO USE "AIRLINES", APART FROM THE
5101 NORTHWEST DRIVE DEPT. A1180 MARK AS SHOWN.

ST. PAUL, MN 551113034

FOR: AIRPORT TERMINAL SERVICES, NAME-
LY, MAKING TRANSPORTATION RESERVA- SN 76-327,833. FILED 10-18-2001.
TIONS, BAGGAGE AND CARGO HANDLING
SERVICES, IN CLASS 39 (U.S. CLS. 100 AND 105).

FIRST USE 11-26-2001; IN COMMERCE 11-26-2001. . KEVON CHISOLM, EXAMINING ATTORNEY
